        CASE 0:20-cv-01630-JRT-BRT Doc. 87 Filed 02/16/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA



Peakspeed, Inc.,                                          Civ. No. 20-cv-1630 (JRT/BRT)

                   Plaintiff,
                                                    ORDER ON STIPULATION
v.                                                EXTENDING DEADLINE FOR
                                                DEFENDANT TO FILE HIS ANSWER
Timothy Emerson,                                   TO PLAINTIFF’S AMENDED
                                                         COMPLAINT
                   Defendant.


      This matter is before the Court on the parties’ Stipulation Extending the Deadline

for Defendant to File His Answer to Plaintiff’s Amended Complaint (Doc. No. 83).

      IT IS HEREBY ORDERED that Defendant shall have until February 24, 2021 to

file his Answer to the Amended Complaint.



 Dated: February 16, 2021                       s/ Becky R. Thorson
                                                BECKY R. THORSON
                                                United States Magistrate Judge




                                            1
